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United States Court of Appeals

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FIFTH CIRCUIT SAVTUPRS AISTICN LE Gb oe
OFFICE OF THE CLERK
LYLE W. CAYCE TEL. 504-310-7700 Ta
CLERK 600 S. MAESTRI PLACE,

Suite 115
NEW ORLEANS, LA 70130

January 22, 2020

Mr. Scott Douglas Levine
Banowsky & Levine, P.C.
12801 N. Central Expressway
Suite 1700

Dallas, TX 75243

Mr. Edwin Armstrong Price Voss Jr.
Brown & Hofmeister, L.L.P.

740 E. Campbell Road

Suite 800

Richardson, TX 75081

No. 20-10055 Selina Ramirez, et al v. City of Arliington,
Texas, et al
USDC No. 4:20-CV-7 —

Dear Counsel,

We have docketed the appeal as shown above, and ask you to use the
case number above in future inquiries.

Filings in this court are governed strictly by the Federal Rules
of Appellate Procedure. We cannot accept motions submitted under
the Federal Rules of Civil Procedure. We can address only those
documents the court directs you to file, or proper motions filed
in support of the appeal. See FED. R. App. P. and 5™ Cir. R. 27 for
guidance. We will not acknowledge or act upon documents not
authorized by these rules.

All counsel who desire to appear in this case must electronically
file a "Form for Appearance of Counsel" naming all parties
represented within 14 days from this date, see FED. R. App. P. 12(b)
and 5™ Cir. R. 12. This form is available on our website
www.ca5.uscourts.gov. Failure to electronically file this form
will result in removing your name from our docket. Pro se parties
are not required to file appearance forms.

ATTENTION ATTORNEYS: Attorneys are required to be a member of the
Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit's website, www.ca5.uscourts.gov.

 
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Information on Electronic Case Filing is available at
www.ca5.uscourts.gov/cmecf/.

 

ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available. Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.

Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this

court.

We recommend that you visit the Fifth Circuit's website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner's Guide and the 5th Circuit Appeal Flow Chart,

located in the Forms, Fees, and Guides tab.

 

ATTENTION: If you are filing Pro Se (without a lawyer) you can
request to receive correspondence from the court and other parties
by email and can also request to file pleadings through the court’s
electronic filing systems. Details explaining how you can request
this are available on the Fifth Circuit website at
http: //www.ca5.uscourts.gov/docs/default-source/forms/pro-se-
filer-instructions. This is not available for any pro se serving
in confinement.

Sealing Documents _on_ Appeal: Our court has a strong presumption
oL public access to our cour 's records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket. Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
not apply in an appellate proceeding. It is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary. An unopposed motion to seal does not obviate a
counsel's obligation to justify the motion to seal.
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Sincerely,

LYLE W. CAYCE, Clerk
Chrustma Rachat

By:
Christina C. Rachal, Deputy Clerk

 

cc:
Mr. Thomas Dean Malone
Ms. Karen S. Mitchell
CaGaser20:4098807-Poewment0PSi5 281604, 1 Page 4 ppata Fes: Ptiealep2g-

Provided below is the court's official caption. Please review the
parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form, a
complete list of the parties should be listed on the form exactly
as they are listed on the caption.

 

Case No. 20-10055

SELINA MARIE RAMIREZ, individually and as Independent
Administrator of, and on behalf of, the Estate of Gabriel
Eduardo Olivas and the heirs-at-law of Gabriel Eduardo Olivas,
and as parent, guardian, and next friend of and for female minor
SMO; GABRIEL ANTHONY OLIVAS, individually,

Plaintiffs - Appellees
v.
JEREMIAS GUADARRAMA; EBONY N. JEFFERSON,

Defendants - Appellants
